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                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                  SOUTHEASTERN DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
               Plaintiff,                 )
                                          )
 vs.                                      )     Case No. 1:19CR00145 SNLJ
                                          )
 GINO WELLS,                              )
                                          )
               Defendant.                 )

                       OBJECTIONS TO PRESENTENCE REPORT AND
                              LEAVE TO FILE OUT OF TIME

       COMES NOW, Defendant, by and through his attorney and objects to the

 presentence report as follows:

       1.      Defendant objects to paragraph 25. Defendant did not know about the

 heroin found and the charges regarding the heroin were dismissed by the

 government. This objection does not affect the offense level;

       2.      Defendant objects to paragraph 25. Defendant was only expecting to

 receive 3 pounds of methamphetamine. The offense level is based upon11 pounds of

 methamphetamine. The base offense level for 3 pounds of methamphetamine would

 be a level 30 (1.361 kg). The total offense level would be 27, which would bring the

 guidelines recommended sentence to 78-97 months;

       3.      Defendant objects to paragraph 45. The PSR mentions marijuana gun

 shells and marijuana found during a search. The search was completely unrelated to

 Defendant. The items found during the search, other than the video tape, had nothing

 to do with Defendant;
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        4.     Defendant objects to 49, more specifically any mention of Defendant

 being in possession of a shotgun.          Defendant was never cited for possessing a

 shotgun.     Defendant was cited with associating with an individual who was on

 probation.    That individual possessed a shotgun, which Defendant knew nothing

 about. It should be noted that this allegation resulted in a field violation and did not

 result in any court action.

        WHEREFORE, counsel requests this Court sustain his objections, grant a hearing

 in this matter, accept these objections out of time, and for such additional relief as this

 Court deems in the interests of justice.



                                            RESPECTFULLY SUBMITTED,



                                            /s/ Jacob Zimmerman
                                            ___________________________________
                                            Jacob A. Zimmerman, MO51258
                                            Attorney for Defendant
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                                  Certificate of Service

        Comes now the undersigned and certifies that a true and accurate copy of the
 foregoing was served on all parties by function of this Court’s E-file system on this 7th
 day of July, 2021.


                                                   /s/ Jacob Zimmerman
                                                   ____________________________________________
                                                   Jacob Zimmerman
